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                             EXHIBIT 1
             Electronically Filed by Superior Court of California, County of Orange, 09/08/2021 11:49:04 AM.
             Case   8:21-cv-01705
30-2021-01220235-CU-BT-CXC      - ROA # 2Document
                                          - DAVID H. 1-1     Filed 10/13/21
                                                      YAMASAKI,                  PageBy2 Georgina
                                                                    Clerk of the Court   of 33 Page    ID #:5
                                                                                                  Ramirez, Deputy Clerk.




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             %$# %"'&'' +'
           (''* "+!$ +'
             ' 5A89BF=J9 H<@CCF                                           $VVLJQHGIRUDOO3XUSRVHV
           9J9F@M!=@@G   
             ,9@9D<CB9  
           57G=A=@9     
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              &5=@6@5?9@5K6@ 7CA
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                                                                  5G9'C 
          $*,**' CB69<5@:C:<9FG9@:5B85@@                %%&! !" &!$
          CH<9FGG=A=@5F@MG=HI5H98 
                                                                             & ! !" 
                                                                          )&&$ '%A  .
                                )@5=BH=::                                  & &!  ! !" 
                                                                          )&&$ '%A  .
                                                                           (!&! !!$ B%
                             J                                           ' $!"&&! )
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               &(*,  +*.""' 5B8(+                               '%A 
                                                                        (!&! !-4317963-3=7/0A
                                                                              &%#$!% &
                             9:9B85BHG                               (!&! !&! %'$
                                                                           $%&(
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                                                                       (!&! !!$ 
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              )@5=BH=::$5FH5F*5B55B8H<CG9G=A=@5F@MG=HI5H98R)@5=BH=::GS CB69<5@:C:H<9AG9@J9G 5B8

      5@@CH<9FGG=A=@5F@MG=HI5H98 5B8H<9;9B9F5@DI6@=7 GI6A=HH<=GCF=;=B5@7@5GG57H=CB7CAD@5=BH5;5=BGH

      H<956CJ9 75DH=CB9889:9B85BHGH<9RCAD@5=BHS5G:C@@CKG

                                                 &'$!&%
                     ,<=G 7@5GG 57H=CB G99?G F98F9GG :CF +<9@@DC=BH &CFH;5;9 +9FJ=7=B;UG IB:5=F 896H
      7C@@97H=CB DF57H=79G 5B8 89FC;5HCFM 7F98=H F9DCFH=B; =B J=C@5H=CB C:  - +   O  G5

      *+ 7H 5=F F98=H *9DCFH=B; 7H 5A9B8A9BHG  5B8 CH<9F GH5H9 GH5HIH9G  +D97=:=75@@M 

      9:9B85BHG A589 577CAAC85H=CBG 57FCGG H<9=F 9BH=F9 6CFFCK9F 65G9  6IH H<9B B9;5H=J9@M F9DCFH98

      )@5=BH=::UGF95@9GH5H9@C5B:CF:5=@IF9HCD5M5ACFH;5;9 75IG=B;58F5A5H=7897@=B9=B)@5=BH=::UG7F98=H 

      ,<9J5GHA5>CF=HMC:@9B89FG5B8G9FJ=79FG5F97CAD@M=B;K=H<H<9*+7H K<9F95G9:9B85BH

     <5G7<CG9BHC8=GF9;5F85B8J=C@5H9H<9*+7H*5A9B8A9BHG 5B8<5G5HH9ADHHC7C@@97H

     5896H=BJ=C@5H=CBC:H<9G95A9B8A9BHG 

                                                    &"$&%
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                    )@5=BH=::$5FH5F*5B5R*5B5S=G5B=B8=J=8I5@F9G=8=B;=BH<9+H5H9C:5@=:CFB=5 5B8
     =B(F5B;9CIBHM 5@=:CFB=5 $5FH5F*5B5<5G5896HG97IF986MF95@9GH5H9=BK<=7<9:9B85BH=GH<9

     @9B89F5B8 CFG9FJ=79F 

                    +<9@@DC=BH=G5K<C@@MCKB98GI6G=8=5FMC:+<9@@DC=BH)5FHB9FG%% 59@5K5F9@=A=H98
     @=56=@=HM7CAD5BM +<9@@DC=BH)5FHB9FG %%=GK<C@@MCKB986M'*&7EI=G=H=CB%%5B8'*&

     7EI=G=H=CB""%% 6CH<C:K<=7<5F99@5K5F9@=A=H98@=56=@=HM7CAD5B=9G CH<'*&7EI=G=H=CB

      9BH=H=9G5F9K<C@@MCKB986M'9K*9G=89BH=5@&CFH;5;9%% 59@5K5F9@=A=H98@=56=@=HM7CAD5BM 

     '9K *9G=89BH=5@ &CFH;5;9 %% =G K<C@@M CKB98 6M '9K *9G=89BH=5@ "BJ9GHA9BH CFDCF5H=CB  5

     9@5K5F97CFDCF5H=CB '9K*9G=89BH=5@"BJ9GHA9BHCFDCF5H=CB=GDI6@=7@MHF5898CBH<9'9K1CF?

     +HC7?L7<5B;9IB89FH<9H=7?9FGMA6C@'*2 "B588=H=CB

              5      '*258J9FH=G9GCB=HGK96G=H9H<9F95GCBK<M=H=G:C7IG98CB+<9@@DC=BHUG6IG=B9GG
     AC89@K<=7<57EI=F9GH<9ACFH;5;9G9FJ=7=B;F=;<HG:FCACH<9FG RACFH;5;9G9FJ=7=B;F=;<H&+*

     DFCJ=89G5ACFH;5;9G9FJ=79FK=H<H<9F=;<HHCG9FJ=795DCC@C:F9G=89BH=5@ACFH;5;9@C5BG=B9L7<5B;9

     :CF5DCFH=CBC:H<9=BH9F9GHD5MA9BHGA589CBH<9IB89F@M=B;F9G=89BH=5@ACFH;5;9@C5BG 8J5B79G



                                                   (*" "'%(&)%"',
                                                                                                                     
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      5F9F9EI=F9875D=H5@CIH@5MG6MH<9G9FJ=79FHC:IB8A=GG98D5MA9BHG:FCA89@=BEI9BH6CFFCK9FG5B8

      :CF97@CGIF9 F9@5H98 9LD9BG9G  ,<9 G9FJ=79F <5G @=A=H98 F=G? C: BCH 69=B; F9=A6IFG98 :CF 58J5B79G 

      6975IG9 58J5B79G 5F9 5@ACGH 5@K5MG THCD C: H<9 K5H9F:5@@U =B H<9 9J9BH C: 5 DFCD9FHM G5@9S

      <HHDG KKK B9KF9G= 7CA 56CIH IG "BCH<9FKCF8G +<9@@DC=BHA5?9GACF9ACB9MCB69<5@:C:'*2

      6M7<IFB=B;:99G5B8A5?=B;58J5B79GF9@5H98HC6CFFCK9FG=H69@=9J9G5F989@=BEI9BHCF=B:CF97@CGIF9

      5B8H<9F9=GR@=A=H98F=G?SH<5HH<CG9GIAGK=@@BCH69F9=A6IFG98HC=HQ9J9B=:=H<5GBCF=;<HHC=ADCG9

      H<9:99G5B87<5F;9G=BH<9:=FGH=BGH5B79 

               6      +<9@@DC=BH=G5ACFH;5;9@9B89F5B8G9FJ=79F5G89:=B986M"' "'+, O  >B 

               7      +<9@@DC=BH =G 5 896H 7C@@97HCF DIFGI5BH HC  - +   O5 5G =H 57EI=F98 H<9

      G9FJ=7=B;F=;<HHCH<9)@5=BH=::UG@C5B5B879FH5=BC:H<9G=A=@5F@MG=HI5H98D9FGCBGH<9MF9DF9G9BH "B

     F9@5H=CBHC79FH5=BC:H<9DIH5H=J97@5GGA9A69FG +<9@@DC=BH5@GC7C@@97HGBCHCB=HGCKB69<5@:6IH

     7C@@97HGCB69<5@:C:CH<9FGK<CCKBH<9GI6>97HACFH;5;9896HG5B8K<C<5J99B;5;98+<9@@DC=BHHC

     7C@@97HCBH<9=F69<5@: 





                    )@5=BH=::=GIB5K5F9C:H<9HFI9=89BH=H=9G5B875D57=H=9GC::=7H=H=CIG@MB5A9889:9B85BHG

     89G=;B5H98 5G C9G        6IH K=@@ 5A9B8 H<=G 7CAD@5=BH CF 5BM GI6G9EI9BH D@958=B; K<9B H<9=F

     =89BH=H=9G5B875D57=H=9G<5J9699B5G79FH5=B98577CF8=B;HCDFCC: (B=B:CFA5H=CB5B869@=9: 957<

     5B8 9J9FM C9 89:9B85BH =G =B GCA9 A5BB9F F9GDCBG=6@9 :CF H<9 57HG 5B8 7CB8I7H C: H<9 CH<9F

     89:9B85BHG<9F9=B 5B8957<C9K5G 5B8=G F9GDCBG=6@9:CFH<9=B>IF=9G 85A5;9G 5B8<5FA=B7IFF98

     6M)@5=BH=:: 57<F9:9F9B79=BH<=G7CAD@5=BHHCR89:9B85BH SR89:9B85BHG SCF5GD97=:=75@@MB5A98

      89:9B85BH F9:9FG5@GCHC5@@C:H<9B5A9889:9B85BHG5B8H<CG9IB?BCKBD5FH=9GGI98IB89F:=7H=H=CIG

     B5A9G 

                    )@5=BH=::=G=B:CFA985B869@=9J95B8H<9F9CB5@@9;9H<5H 5H5@@H=A9GF9@9J5BH<9F9HC 5@@
     C:H<99:9B85BHGHC;9H<9FK9F9A9A69FGC:5G=B;@9IB=B7CFDCF5H985GGC7=5H=CB K=H<957<A9A69F

     9L9F7=G=B;7CBHFC@CJ9FH<9CD9F5H=CBGC:H<95GGC7=5H=CB )@5=BH=::=G=B:CFA985B869@=9J95B8H<9F9CB

     5@@9;9H<5H 5H5@@H=A9GF9@9J5BH<9F9HC 957<C:H<989:9B85BHGK5GH<95;9BH 5GGC7=5H9 9AD@CM995B8

     CFF9DF9G9BH5H=J9C:957<C:H<9F9A5=B=B;89:9B85BHG 5B8=B8C=B;H<9H<=B;G<9F9=B5:H9F5@@9;98 K5G

     57H=B;K=H<=BH<95IH<CF=N987CIFG95B8G7CD9C:H<=G5;9B7M 5GGC7=5H=CB5B89AD@CMA9BHK=H<H<9



                                                  (*" "'%(&)%"',
                                                                                                                     
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      :I@@?BCK@98;95B87CBG9BHC:H<9F9A5=B=B;89:9B85BHG )@5=BH=::=G:IFH<9F=B:CFA985B869@=9J95B8

      H<9F9CB5@@9;9H<5H957<5B85@@C:H<957HG<9F9=B5@@9;985GHC957<89:9B85BHK5G5IH<CF=N985B8

      8=F97H986MH<9F9A5=B=B;89:9B85BHG K<CF5H=:=98 58CDH98 7CB8CB985B85DDFCJ98G5=857HGK=H<

      :I@@?BCK@98;9C:H<97CBG9EI9B79GH<9F9C: 5B8A9ACF=5@=N98H<95IH<CF=HMC:H<95;9BH=B5KF=H=B;

      GI6G7F=6986MH<9DF=B7=D5@ 

                      )@5=BH=::=G=B:CFA985B869@=9J95B8H<9F9CB5@@9;9GH<5H957<C:H<989:9B85BHG<9F9=B

      5;F9985ACB;957<CH<9FHC7CAA=HH<9IB@5K:I@57HGCF57HG6MIB@5K:I@A95BG89G7F=698=BH<=G

      7CAD@5=BH ,<989G=F989::97HC:H<97CBGD=F57MK5GHC89:F5I85B8CH<9FK=G989DF=J9)@5=BH=::C:<9F

      7CBGH=HIH=CB5@@MDFCH97H98F=;<HGHCDFCD9FHM 5B8C:H<9=FF=;<HGIB89FCH<9F@5KG5GG9H:CFH<<9F9=B 

      57<C:H<989:9B85BHG<9F9=B7CAA=HH985B57H=B:IFH<9F5B79C:H<95;F99A9BH "B>IFMK5G75IG98HC

     H<9)@5=BH=::6MH<989:9B85BHG5G57CBG9EI9B79 

                                           '$%&!  ( '

                     ,<9CIFH<5GD9FGCB5@>IF=G8=7H=CBCJ9F9:9B85BHG6975IG9H<9M5F9F9G=89BHG5B8 CF





     8C=B;6IG=B9GG=B5@=:CFB=5 

                     ,<9@5GG7H=CB5=FB9GG7HRS 7C8=:=985H- +  O8C9GBCH5DD@M
     HCH<=G7@5GG57H=CB65G98CBH<9:C@@CK=B;:CIF=B89D9B89BH9L79DH=CBGH<9%C75@CBHFCJ9FGM

     9L79DH=CB  !CA9 +H5H9 9L79DH=CB 5B8  H<9 8=G7F9H=CB5FM 9L79DH=CB  &CF9 H<5B  C: H<9

     DIH5H=J9 7@5GG A9A69FG 5F9 7=H=N9BG C: H<9 +H5H9 C: 5@=:CFB=5 :CF H<9 DIFDCG9G C:  5B8 H<9

     9L79DH=CBGHC )@5=BH=::=G55@=:CFB=5F9G=89BHG5B87=H=N9BG:CFH<9DIFDCG9GC: 5B8H<9

      9L79DH=CBGHC 989F5@GI6>97HA5HH9F>IF=G8=7H=CB5GHCH<9G9HMD9GC:7@5=AG=GIB79FH5=B65G98

     CBFH=7@9"""GH5B8=B; 

                     .9BI9=GDFCD9F=BH<=GCIFH=B577CF85B79K=H<H<95@=:CFB=5C89C:=J=@)FC798IF9
     O 5  6975IG9 9:9B85BHG F9G=89 =B  7CBHF57H98 HC D9F:CFA C6@=;5H=CB =B  5B8 CF 8C 6IG=B9GG =B

     (F5B;9 CIBHM  IFH<9FACF9  H<9 =B>IF=9G  85A5;9G  5B8 CF <5FA IDCB K<=7< H<=G 57H=CB =G 65G98 

     C77IFF98CF5FCG9CIHC:57H=J=H=9G9B;5;98=B6M9:9B85BHGK=H<=B 5::97H=B; 5B89A5B5H=B;:FCAH<9

     +H5H9C:5@=:CFB=55B8H<9=HM5B8CIBHMC:(F5B;9 

    



                                                   (*" "'%(&)%"',
                                                                                                                      
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                                            &'$!' 

                    9:9B85BH'9K*9N%%'9K*9N :CFA9F@M'9K)9BB=B5B7=5@ %% =G5@958=B;
      B5H=CBK=89@9B89FH<5H:C7IG9GCBC::9F=B;56F958H<C:=B8IGHFM @958=B;DFC8I7HG GIDDCFH986M5@C5B

      DFC79GG  CIB898 =B      5B8 @=79BG98 HC @9B8 =B  GH5H9G  '9K*9N =G <958EI5FH9F98 =B CFH
      /5G<=B;HCB )9BBGM@J5B=55B8CD9F5H9GAI@H=D@9@9B8=B;7<5BB9@G =B7@I8=B;CFF9GDCB89BH%9B8=B; 

      /<C@9G5@9 =F97H HC CBGIA9F *9H5=@ 5B85B9HKCF?C:>C=BHJ9BHIF9D5FHB9FG '9K*9N=GA9A69F

      C:H<9'9K*9G=89BH=5@"BJ9GHA9BHCFD :5A=@M 

                   '9K*9N<5G699B7F=H=7=N98:CF=HGIB:5=F896H7C@@97H=CBDF57H=79G 5B8<5G699BB5A98
      =BG9J9F5@DFC7998=B;G 

                   (B +9DH9A69F      )@5=BH=:: G9FJ98 5 'CH=79 C: .=C@5H=CB C: H<9 5@=:CFB=5
     CBGIA9F%9;5@*9A98=9G7H5B8IHMHC)F9G9FJ9J=89B79CB'9K*9NJ=579FH=:=98A5=@ 

                  9:9B85BH '9K*9N A589 5B 577CAAC85H=CB 5G HC 5@@ 6CFFCK9FG K<C 8=8 BCH A5?9
     D5MA9BHG5:H9FH<9D5B89A=75FCG9 6M89:9FF=B;CB9CFACF9D5MA9BHG 





                  ,<9'5H=CB5@A9F;9B7M 5G89:=B98=BH<9* <5GBCH9B898 
                  9:9B85BH7CBH=BI9GHCF9DCFH)@5=BH=:: 5B8CH<9FGK=H<=ADFCD9F89FC;5HCFMF9A5F?G
     H<5H<5G75IG98)@5=BH=::5B8@5GG&9A69FGU7F98=HHC8F5GH=75@@M897@=B9 

                                        %%&! &! %
                  )@5=BH=:: 6F=B;G H<=G 57H=CB CB 69<5@: C: <9FG9@:  H<9 ;9B9F5@ DI6@=7  5B8 5@@ CH<9FG
     G=A=@5F@MG=HI5H98 DIFGI5BHHC5@=:CFB=5C89C:=J=@)FC798IF9 

                   ,<95@=:CFB=5@5GG=G89:=B985G
             @@D9FGCBGK<C5F97=H=N9BGC:5@=:CFB=5K<CF979=J98589FC;5HCFMF9DCFHCB5BMC:H<F99
     7F98=H6IF95IF9DCFHG :FCA#5BI5FM   HCDF9G9BH85H9 

                    ,<9'5H=CB5@@5GG=G89:=B985G
             @@D9FGCBG=BH<9-B=H98+H5H9GK<CF979=J98589FC;5HCFMF9DCFHCB5BMC:H<F997F98=H6IF95I
     F9DCFHG :FCA#5BI5FM   HCDF9G9BH85H9 

                  ,<=G57H=CB=GDFCD9F@M6FCI;<H5G57@5GG57H=CB:CFH<9:C@@CK=B;F95GCBG
    



                                                  (*" "'%(&)%"',
                                                                                                                        
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                       5     ,<9 DFCDCG98 7@5GG =G GC BIA9FCIG H<5H H<9 >C=B89F C: 5@@ @5GG &9A69FG =G

      =ADF57H=756@9 /<=@9)@5=BH=::8C9GBCH?BCKH<99L57HBIA69F5B8=89BH=HMC:5@@@5GG&9A69FG 

      )@5=BH=:: =G =B:CFA98 5B8 69@=9J9 H<5H H<9F9 5F9 <IB8F98G C: H<CIG5B8G =: BCH A=@@=CBG C: @5GG

      &9A69FG ,<9DF97=G9BIA69FC:@5GG&9A69FG75B695G79FH5=B98H<FCI;<8=G7CJ9FM K<=7<K=@@

      =B7@I899:9B85BHGU6IG=B9GGF97CF8G

                       6     ,<98=GDCG=H=CBC:)@5=BH=::UG5B8H<9@5GG&9A69FGU7@5=AG=B57@5GG57H=CB

      K=@@DFCJ=89GI6GH5BH=5@69B9:=HGHC6CH<H<9D5FH=9G5B8H<9CIFH

                       7     ,<9DFCDCG987@5GG=G5G79FH5=B56@95B8H<9F9=G5K9@@ 89:=B987CAAIB=HMC:

      =BH9F9GH=BH<9EI9GH=CBGC:@5KCF:57H5@@9;98<9F9=BG=B79H<9F=;<HGC:957<DFCDCG987@5GGA9A69F

      K9F9=B:F=B;98CFJ=C@5H98=BH<9G5A9:5G<=CB

                      8     ,<9F9 5F9 EI9GH=CBG C: @5K 5B8 :57H 7CAACB HC H<9 DFCDCG98 7@5GG K<=7<

     DF98CA=B5H9CJ9F5BMEI9GH=CBGH<5HA5M5::97H@5GG&9A69FG +I7<7CAACBEI9GH=CBGC:@5K5B8

     :57H=B7@I89 6IH5F9BCH@=A=H98HC





                                   /<9H<9F 9:9B85BHG H<F95H9B98 HC A5?9 5 89FC;5HCFM 7F98=H =BEI=FM

     5B8 CF=ADFCD9F@MA58957F98=H=BEI=FM=BJ=C@5H=CBC:5@=:CFB=5*CG9BH<5@5B8 CFH<9) 5B8 CF

     *5B8CH<9F@5KG

                                   /<9H<9F 9:9B85BHG J=C@5H98 5@=:CFB=5UG -B:5=F CAD9H=H=CB %5K 

     IG=B9GG)FC:9GG=CBGC89OO           !  R-%S

                                   /<9H<9F)@5=BH=::5B8@5GG&9A69FG<5J9699B<5FA985B8H<9DFCD9F

      A95GIF9C:F9@=9:

                                   /<9H<9F )@5=BH=:: 5B8 @5GG &9A69FG 5F9 9BH=H@98 HC 5B 5K5F8 C:

     5HHCFB9MGU:99G 5B89LD9BG9G5;5=BGH9:9B85BHG5B8

                                   /<9H<9F 5G5F9GI@HC:9:9B85BHGUA=G7CB8I7H )@5=BH=::5B8H<9@5GG

     5F99BH=H@98HC9EI=H56@9F9@=9: 5B8=:GC H<9B5HIF9C:GI7<F9@=9: 

                      9     )@5=BH=::UG7@5=AG5F9HMD=75@C:H<97@5=AGC:H<9@5GG&9A69FG )@5=BH=::5B8

     5@@@5GG&9A69FG<5J9699B=B>IF986MH<9G5A9KFCB;:I@DF57H=79GC:9:9B85BHG )@5=BH=::UG7@5=AG

    



                                                   (*" "'%(&)%"',
                                                                                                                       
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      5F=G9:FCAH<9G5A9DF57H=79G5B87CB8I7HH<5H;=J9F=G9HCH<97@5=AGC:5@@@5GG&9A69FG5B85F9

      65G98CBH<9G5A9@9;5@H<9CF=9G

                      :    )@5=BH=::K=@@:5=F@M5B8589EI5H9@MDFCH97HH<9=BH9F9GHGC:H<9DFCDCG987@5GG=B

      H<5HH<9M<5J9BC=BH9F9GHG5BH5;CB=GH=7HCH<CG9C:H<9CH<9FDFCDCG98@5GG&9A69FG 5B8)@5=BH=::

      <5GF9H5=B985HHCFB9MG9LD9F=9B798=B7CBGIA9F7@5GG57H=CBG5B87CAD@9L@=H=;5H=CB5G7CIBG9@

                      ;    7@5GG57H=CB=GGID9F=CFHCCH<9F5J5=@56@9A9H<C8G:CFH<9:5=F5B89::=7=9BH

      58>I8=75H=CBC:H<=G7CBHFCJ9FGM:CF5H@95GHH<9:C@@CK=B;F95GCBG

                                   =J9BH<9G=N9C:@5GG&9A69FGU7@5=AG5B8H<99LD9BG9C:@=H=;5H=B;

      H<CG97@5=AG :9K =:5BM @5GG&9A69FG7CI@85::CF8HCCFKCI@8G99?@9;5@F98F9GG=B8=J=8I5@@M:CF

      H<9KFCB;G9:9B85BH7CAA=HH985;5=BGHH<9A 5B856G9BH@5GG&9A69FG<5J9BCGI6GH5BH=5@=BH9F9GH

     =B=B8=J=8I5@@M7CBHFC@@=B;H<9DFCG97IH=CBC:=B8=J=8I5@57H=CBG

                                ,<=G57H=CBK=@@DFCACH95BCF89F@M5B89LD98=H=CIG58A=B=GHF5H=CB5B8

     58>I8=75H=CBC:H<9DFCDCG987@5GG7@5=AG 5B897CBCA=9GC:H=A9 9::CFH5B8F9GCIF79GK=@@69:CGH9F98 





     5B8IB=:CFA=HMC:897=G=CBGK=@@69=BGIF98

                                /=H<CIH57@5GG57H=CB @5GG&9A69FGK=@@7CBH=BI9HCGI::9F85A5;9G 

     5B89:9B85BHGUJ=C@5H=CBGC:@5KK=@@DFC7998K=H<CIHF9A98MK<=@99:9B85BHG7CBH=BI9HCF95D5B8

     F9H5=BH<9GI6GH5BH=5@DFC7998GC:=HGKFCB;:I@7CB8I7H5B8

                                )@5=BH=::G ?BCK C: BC 8=::=7I@HM H<5H K=@@ 69 9B7CIBH9F98 =B H<9

     A5B5;9A9BHC:H<=G@=H=;5H=CBK<=7<KCI@8DF97@I89=HGA5=BH9B5B795G57@5GG57H=CB 

                   )@5=BH=::G99?G85A5;9G5B89EI=H56@9F9@=9:CB69<5@:C:H<9DFCDCG987@5GGCB;FCIB8G

     ;9B9F5@@M5DD@=756@9HCH<99BH=F9DFCDCG987@5GG )@5=BH=::G99?G=B>IB7H=J9F9@=9: K<9F96M9:9B85BH

     G<5@@795G9B9;5H=J9F9DCFH=B;IB89FH<9*5B8G<5@@75IG9HC69F9ACJ985BMB9;5H=J9F9DCFH=B;

     HC85H9 

                   9:9B85BHG<5J9 CF<5J95779GGHC 588F9GG=B:CFA5H=CB:CF@5GG&9A69FGK<=7<A5M

     69IG98:CFDFCJ=8=B;BCH=79C:H<9D9B89B7MC:H<=G7@5GG57H=CB 

                                             '%%!&! 

                                             '%!&! 



                                                (*" "'%(&)%"',
                                                                                                                 
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             & ! !" )&&$                          '%A  .+580953::3.40

                                                   90/3;$0879;362,
                                               2-36:;440106/-6;:
                    )@5=BH=::F95@@9;9G5@@5@@9;5H=CBG5G=::I@@MG9H:CFH<<9F9=B 5B8=B7CFDCF5H9DF9J=CIG
      5@@9;5H=CBG6MF9:9F9B79 

                    (B &5F7<      H<9 CFCB5J=FIG =8  *9@=9:  5B8 7CBCA=7 +97IF=HM 7H H<9
      R*+ 7HS K5G G=;B98  ACB;GH =HG A5BM DFCJ=G=CBG =G 5B 5A9B8A9BH HC H<9 5=F F98=H

      *9DCFH=B; 7H   - +   O  * H<5H 588G +97H=CB  G5  K<=7< DFCJ=89G 5G

      :C@@CKG

               *9DCFH=B;=B:CFA5H=CB8IF=B;(." D5B89A=7 
                      39:=B=H=CBG "BH<=GGI6G97H=CB
                              77CAAC85H=CB ,<9H9FAR577CAAC85H=CBS=B7@I89G5B5;F99A9BHHC
                              89:9FCFACF9D5MA9BHG A5?95D5FH=5@D5MA9BH :CF695F5BM89@=BEI9BH





                              5ACIBHG AC8=:M5@C5BCF7CBHF57H CF5BMCH<9F5GG=GH5B79CFF9@=9:;F5BH98HC
                              57CBGIA9FK<C=G5::97H986MH<97CFCB5J=FIG8=G95G9 (." 
                              D5B89A=78IF=B;H<97CJ9F98D9F=C8 
                              CJ9F98D9F=C8 ,<9H9FAR7CJ9F98D9F=C8SA95BGH<9D9F=C869;=BB=B;
                              CB#5BI5FM   5B89B8=B;CBH<9@5H9FC:Q
                                      -- 85MG5:H9FH<985H9C:9B57HA9BHC:H<=GGI6D5F5;F5D<39B57H98
                                       &5F7<   4CF
                                      .. 85MG5:H9FH<985H9CBK<=7<H<9B5H=CB5@9A9F;9B7M
                                      7CB79FB=B;H<9BCJ9@7CFCB5J=FIG8=G95G9(." CIH6F95?
                                      897@5F986MH<9)F9G=89BHCB&5F7<   IB89FH<9'5H=CB5@
                                      A9F;9B7=9G7H 9HG9E H9FA=B5H9G 
                      33*9DCFH=B; L79DH5GDFCJ=898=B7@5IG9=== =:5:IFB=G<9FA5?9G5B
                      577CAAC85H=CBK=H<F9GD97HHCCFACF9D5MA9BHGCB57F98=HC6@=;5H=CBCF577CIBH
    



                                                  (*" "'%(&)%"',
                                                                                                                 
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                       C:57CBGIA9F 5B8H<97CBGIA9FA5?9GH<9D5MA9BHGCF=GBCHF9EI=F98HCA5?9CF

                       ACF9D5MA9BHGDIFGI5BHHCH<9577CAAC85H=CB H<9:IFB=G<9FG<5@@Q
                               F9DCFHH<97F98=HC6@=;5H=CBCF577CIBH5G7IFF9BHCF
                               =:H<97F98=HC6@=;5H=CBCF577CIBHK5G89@=BEI9BH69:CF9H<9
                               577CAAC85H=CBQ
                                       --A5=BH5=BH<989@=BEI9BHGH5HIG8IF=B;H<9D9F=C8=BK<=7<H<9
                                       577CAAC85H=CB=G=B9::97H5B8
                                       ..=:H<97CBGIA9F6F=B;GH<97F98=HC6@=;5H=CBCF577CIBH7IFF9BH
                                       8IF=B;H<9D9F=C889G7F=698=B=H9A55 F9DCFHH<97F98=HC6@=;5H=CBCF
                                       577CIBH5G7IFF9BH 
                      333L79DH=CB @5IG9==G<5@@BCH5DD@MK=H<F9GD97HHC57F98=HC6@=;5H=CBCF
                      577CIBHC:57CBGIA9FH<5H<5G699B7<5F;98 C:: 
                   GHC)@5=BH=::5B8H<9@5GG9G  F99BDC=BH5;F998HC89:9FCB9CFACF9D5MA9BHG5B8 CF





     5@@CK98H<9A5?=B;C:5D5FH=5@D5MA9BH5B8 CF:CF6CF95BM89@=BEI9BH5ACIBHG5B8 CFAC8=:M5@C5B

     CF 7CBHF57H 5B8 CF 5BM CH<9F 5GG=GH5B79 CF F9@=9: ;F5BH98 HC 5 7CBGIA9F K<C =G 5::97H98 6M H<9

     7CFCB5J=FIG8=G95G9G  F99BDC=BH8=8GCCB5B5H=CB5@65G=G5GHC5@@C:=HG6CFFCK9FG 

                   +D97=:=75@@M 5B577CAAC85H=CBK5GDFCJ=898=BH<5H9:9B85BH5;F998HC89:9FCB9CF
     ACF9D5MA9BHG5GHC$5FH5F*5B5UG896H5:H9F(."GK9DHH<9B5H=CB 

                   &CF9CJ9F 5B577CAAC85H=CBK5GDFCJ=898=BH<5H9:9B85BH5;F998HC5@@CK)@5=BH=::
      HC:CF6CF9CB89@=BEI9BH5ACIBHG5B8 CF5;F998HC5H9ADCF5FMAC8=:=75H=CB AC8=:=75H=CB 

                   ,<97CJ9F98D9F=C869;5BCB#5BI5FM   5B87CBH=BI9GHCDF9G9BH85H96975IG9
     H<9 897@5F5H=CB 6M H<9 )F9G=89BH CB &5F7<      IB89F H<9 '5H=CB5@ A9F;9B7=9G 7H  <5G BCH

     H9FA=B5H98 

                   -B89FH<9H9FAGC:H<9* R354D9FGCBG<5@@  57CBGIA9FF9DCFH
     :CF5BMDIFDCG9IB@9GGPH<97CBGIA9FF9DCFH=GC6H5=B98:CF5DIFDCG9:CFK<=7<H<97CBGIA9F

     F9DCFH =G            5B8        

    



                                                   (*" "'%(&)%"',
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      9AD<5G=G58898 

                    '9K*9N=G5RD9FGCBSIB89FH<9* K<=7<=G6FC58@M89:=B985GR5BM=B8=J=8I5@ 

      D5FHB9FG<=D  7CFDCF5H=CB  HFIGH  9GH5H9  7CCD9F5H=J9  5GGC7=5H=CB  ;CJ9FBA9BH CF ;CJ9FBA9BH5@

      GI68=J=G=CB CF 5;9B7M  CF CH<9F 9BH=HM S - +   O6 89:=B=H=CBG '9K*9N =G 5 DF=J5H9

      7CFDCF5H=CB 

                    LD9F=5B EI=:5L ,F5BGIB=CB5F9957<R7CBGIA9FF9DCFH=B;5;9B7=9GS5GH<5HH9FA=G
      89:=B98=B- +  +97H=CB 

                     )@5=BH=:: BCFH<9@5GG9GUC6@=;5H=CBG<5J9699B7<5F;98C:: 
                    9:9B85BH <5G BCH F9DCFH98 H<9 C6@=;5H=CB 5G 7IFF9BH  6IH =BGH958 F9DCFH98 H<9
     C6@=;5H=CBG5G89@=BEI9BH5B889FC;5HCFM8IF=B;H<9R7CJ9F98D9F=C8S=BJ=C@5H=CBC:H<9*+7H

     *5A9B8A9BHG 

                   G5F9GI@H 5B85G58=F97H5B8DFCL=A5H975IG9C:H<9B9;5H=J9F9DCFH=B; $5FH5F*5B5G





     7F98=H<5G897@=B985@ACGHHKC<IB8F98DC=BHG :FCA 9L79DH=CB5@HC:5=F H<IG8=F97H@M5B8

     DFCL=A5H9@M85A5;=B;$5FH5F*5B5 57<C:$5FH5F*5B5UG7F98=HF9DCFHGK=H<957<6IF95IF9:@97H5

     G=;B=:=75BH897@=B9 

                   9:9B85BHUG7CB8I7H75IG9857HI5@85A5;9G =B7@I8=B;6IHBCH@=A=H98HCH<97C@@97H=CB
     C:5ACIBHGCK98 CF5@@9;98HC69CK98 :CFHC@@J=C@5H=CBGK<=7<KCI@8BCH<5J9699B7C@@97H986IH

     :CFH<9J=C@5H=CBGC:H<9*5@@9;98<9F9=B 

                    @@C:9:9B85BHUGJ=C@5H=CBGC:H<9*K9F9K=@@:I@ ;=J=B;F=G9HC@=56=@=HMIB89F
     - +  OB CF=BH<95@H9FB5H=J9 B9;@=;9BH ;=J=B;F=G9HC@=56=@=HMIB89F- +  OC 

                   "BF9EI9GH=B;5B8C6H5=B=B;)@5=BH=::UG7CBGIA9FF9DCFHK=H<57HI5@?BCK@98;9H<5H=H
     8=8BCH<5J9D9FA=GG=6@9DIFDCG9HC8CGC 5B8F9DCFH=B;)@5=BH=::UG7F98=H=B589FC;5HCFM:5G<=CB 

     9:9B85BHGK=@@:I@@MJ=C@5H98H<9*:CF957<GI7<=BEI=FMH<5H9:9B85BHA589 

                   "B B9;5H=J9 F9DCFH=B;  )@5=BH=::UG 7F98=H =B:CFA5H=CB K=H< 57HI5@ CF 7CBGHFI7H=J9
     ?BCK@98;9H<5H=H8=8BCH<5J9D9FA=GG=6@9DIFDCG9HC8CGC 9:9B85BHB9;@=;9BH@MJ=C@5H98H<9*

     :CF957<GI7<=BEI=FMH<5HH<9MA589 



                                                  (*" "'%(&)%"',
                                                                                                                  
          Case 8:21-cv-01705 Document 1-1 Filed 10/13/21 Page 12 of 33 Page ID #:15

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                     :H9F5F95GCB56@9H=A9HC7CB8I7H8=G7CJ9FM )@5=BH=::75BDFCJ9H<5H5@@57H=CBGH5?9B

      6M9AD@CM99G 5;9BHG CFF9DF9G9BH5H=J9GC:5BMHMD9:FCA9:9B85BHK9F9H5?9BK=H<=BH<9G7CD9C:

      GI7<=B8=J=8I5@GUCF9BH=H=9GU9AD@CMA9BH 5;9B7M CFF9DF9G9BH5H=CB 

                     )@5=BH=:: 5HH9ADH98 HC F9GC@J9 H<=G =GGI9 7CBG9BGI5@@M 5B8 5A=756@M 6M @9HH9F  6IH

      '9K*9N:5=@98HCF9GDCB8F9GDCBG=6@M 

                     "H<5G699BB979GG5FM:CF)@5=BH=::HCF9H5=BH<9IB89FG=;B987CIBG9@HCDFCG97IH9H<9

      =BGH5BH57H=CB :CFK<=7<H<9M5F9C6@=;5H98HCD5M5F95GCB56@95HHCFB9MUG:99 

                      @@7CB8=H=CBGDF97989BHHCH<=G57H=CB<5J9C77IFF98 
                                                               
     
                                                   '%!&! 
     
                & &!  ! !" )&&$                          '%A  .+580953::3.40
    
                                                      90/3;$0879;362,
    
                                                  2-36:;440106/-6;:
    
                       )@5=BH=::F95@@9;9G5@@5@@9;5H=CBG5G=::I@@MG9H:CFH<<9F9=B 5B8=B7CFDCF5H9DF9J=CIG





    
           5@@9;5H=CBG6MF9:9F9B79 
    
                       (B &5F7<      H<9 CFCB5J=FIG =8  *9@=9:  5B8 7CBCA=7 +97IF=HM 7H H<9
    
           R*+ 7HS  K5G G=;B98  ACB;GH =HG A5BM DFCJ=G=CBG =G 5B 5A9B8A9BH HC H<9 5=F F98=H
    
           *9DCFH=B; 7H   - +   O  * H<5H 588G +97H=CB  G5  K<=7< DFCJ=89G 5G
    
           :C@@CKG
    
                   *9DCFH=B;=B:CFA5H=CB8IF=B;(." D5B89A=7 
     
                          39:=B=H=CBG "BH<=GGI6G97H=CB
    
                                  77CAAC85H=CB ,<9H9FAR577CAAC85H=CBS=B7@I89G5B5;F99A9BHHC
    
                                  89:9FCFACF9D5MA9BHG A5?95D5FH=5@D5MA9BH :CF695F5BM89@=BEI9BH
    
                                  5ACIBHG AC8=:M5@C5BCF7CBHF57H CF5BMCH<9F5GG=GH5B79CFF9@=9:;F5BH98HC
    
                                  57CBGIA9FK<C=G5::97H986MH<97CFCB5J=FIG8=G95G9 (." 
    
                                  D5B89A=78IF=B;H<97CJ9F98D9F=C8 
    

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                                                   (*" "'%(&)%"',
                                                                                                                    
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                               CJ9F98D9F=C8 ,<9H9FAR7CJ9F98D9F=C8SA95BGH<9D9F=C869;=BB=B;

                               CB#5BI5FM   5B89B8=B;CBH<9@5H9FC:Q
                                       -- 85MG5:H9FH<985H9C:9B57HA9BHC:H<=GGI6D5F5;F5D<39B57H98
                                       &5F7<   4CF
                                       .. 85MG5:H9FH<985H9CBK<=7<H<9B5H=CB5@9A9F;9B7M
                                       7CB79FB=B;H<9BCJ9@7CFCB5J=FIG8=G95G9(." CIH6F95?
                                       897@5F986MH<9)F9G=89BHCB&5F7<   IB89FH<9'5H=CB5@
                                       A9F;9B7=9G7H 9HG9E H9FA=B5H9G 
                       33*9DCFH=B; L79DH5GDFCJ=898=B7@5IG9=== =:5:IFB=G<9FA5?9G5B
                       577CAAC85H=CBK=H<F9GD97HHCCFACF9D5MA9BHGCB57F98=HC6@=;5H=CBCF577CIBH
                      C:57CBGIA9F 5B8H<97CBGIA9FA5?9GH<9D5MA9BHGCF=GBCHF9EI=F98HCA5?9CF
                      ACF9D5MA9BHGDIFGI5BHHCH<9577CAAC85H=CB H<9:IFB=G<9FG<5@@Q
                              F9DCFHH<97F98=HC6@=;5H=CBCF577CIBH5G7IFF9BHCF





                              =:H<97F98=HC6@=;5H=CBCF577CIBHK5G89@=BEI9BH69:CF9H<9
                              577CAAC85H=CBQ
                                      --A5=BH5=BH<989@=BEI9BHGH5HIG8IF=B;H<9D9F=C8=BK<=7<H<9
                                      577CAAC85H=CB=G=B9::97H5B8
                                      ..=:H<97CBGIA9F6F=B;GH<97F98=HC6@=;5H=CBCF577CIBH7IFF9BH
                                      8IF=B;H<9D9F=C889G7F=698=B=H9A55 F9DCFHH<97F98=HC6@=;5H=CBCF
                                       577CIBH5G7IFF9BH 
                      333L79DH=CB @5IG9==G<5@@BCH5DD@MK=H<F9GD97HHC57F98=HC6@=;5H=CBCF
                      577CIBHC:57CBGIA9FH<5H<5G699B7<5F;98 C:: 
                   GHC)@5=BH=::5B8H<9@5GG9G  F99BDC=BH5;F998HC89:9FCB9CFACF9D5MA9BHG5B8 CF
     5@@CK98H<9A5?=B;C:5D5FH=5@D5MA9BH5B8 CF:CF6CF95BM89@=BEI9BH5ACIBHG5B8 CFAC8=:M5@C5B

     CF 7CBHF57H 5B8 CF 5BM CH<9F 5GG=GH5B79 CF F9@=9: ;F5BH98 HC 5 7CBGIA9F K<C =G 5::97H98 6M H<9

     7CFCB5J=FIG8=G95G9G  F99BDC=BH8=8GCCB5B5H=CB5@65G=G5GHC5@@C:=HG6CFFCK9FG 

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                                                   (*" "'%(&)%"',
                                                                                                                   
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                    +D97=:=75@@M 5B577CAAC85H=CBK5GDFCJ=898=BH<5H9:9B85BH5;F998HC89:9FCB9CF

      ACF9D5MA9BHG5GHC$5FH5F*5B5UG896H5:H9F(."GK9DHH<9B5H=CB 

                    &CF9CJ9F 5B577CAAC85H=CBK5GDFCJ=898=BH<5H9:9B85BH5;F998HC5@@CK)@5=BH=::

      HC:CF6CF9CB89@=BEI9BH5ACIBHG5B8 CF5;F998HC5H9ADCF5FMAC8=:=75H=CB AC8=:=75H=CB 

                    ,<97CJ9F98D9F=C869;5BCB#5BI5FM   5B87CBH=BI9GHCDF9G9BH85H96975IG9

      H<9 897@5F5H=CB 6M H<9 )F9G=89BH CB &5F7<      IB89F H<9 '5H=CB5@ A9F;9B7=9G 7H  <5G BCH

      H9FA=B5H98 

                    -B89FH<9H9FAGC:H<9* R354D9FGCBG<5@@  57CBGIA9FF9DCFH

      :CF5BMDIFDCG9IB@9GGPH<97CBGIA9FF9DCFH=GC6H5=B98:CF5DIFDCG9:CFK<=7<H<97CBGIA9F

      F9DCFH =G            5B8        

                     S  - +   O 6:

     9AD<5G=G58898 

                   '9K*9N=G5RD9FGCBSIB89FH<9* K<=7<=G6FC58@M89:=B985GR5BM=B8=J=8I5@ 





     D5FHB9FG<=D  7CFDCF5H=CB  HFIGH  9GH5H9  7CCD9F5H=J9  5GGC7=5H=CB  ;CJ9FBA9BH CF ;CJ9FBA9BH5@

     GI68=J=G=CB CF 5;9B7M  CF CH<9F 9BH=HM S - +   O6 89:=B=H=CBG '9K*9N =G 5 DF=J5H9

     7CFDCF5H=CB 

                   LD9F=5B EI=:5L ,F5BGIB=CB5F9957<R7CBGIA9FF9DCFH=B;5;9B7=9GS5GH<5HH9FA=G
     89:=B98=B- +  +97H=CB 

                    )@5=BH=:: BCFH<9@5GG9GUC6@=;5H=CBG<5J9699B7<5F;98C:: 
                    9:9B85BH <5G BCH F9DCFH98 H<9 C6@=;5H=CB 5G 7IFF9BH  6IH =BGH958 F9DCFH98 H<9
     C6@=;5H=CBG5G89@=BEI9BH5B889FC;5HCFM8IF=B;H<9R7CJ9F98D9F=C8S=BJ=C@5H=CBC:H<9*+7H

     *5A9B8A9BHG 

                   G5F9GI@H 5B85G58=F97H5B8DFCL=A5H975IG9C:H<9B9;5H=J9F9DCFH=B; $5FH5F*5B5G
     7F98=H<5G897@=B985@ACGHHKC<IB8F98DC=BHG :FCA 9L79DH=CB5@HC:5=F H<IG8=F97H@M5B8

     DFCL=A5H9@M85A5;=B;$5FH5F*5B5 57<C:$5FH5F*5B5UG7F98=HF9DCFHGK=H<957<6IF95IF9:@97H5

     G=;B=:=75BH897@=B9 

    



                                                  (*" "'%(&)%"',
                                                                                                                  
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                     9:9B85BHUG7CB8I7H75IG9857HI5@85A5;9G =B7@I8=B;6IHBCH@=A=H98HCH<97C@@97H=CB

      C:5ACIBHGCK98 CF5@@9;98HC69CK98 :CFHC@@J=C@5H=CBGK<=7<KCI@8BCH<5J9699B7C@@97H986IH

      :CFH<9J=C@5H=CBGC:H<9*5@@9;98<9F9=B 

                     @@C:9:9B85BHUGJ=C@5H=CBGC:H<9*K9F9K=@@:I@ ;=J=B;F=G9HC@=56=@=HMIB89F

      - +  OB CF=BH<95@H9FB5H=J9 B9;@=;9BH ;=J=B;F=G9HC@=56=@=HMIB89F- +  OC 

                     "BF9EI9GH=B;5B8C6H5=B=B;)@5=BH=::UG7CBGIA9FF9DCFHK=H<57HI5@?BCK@98;9H<5H=H

      8=8BCH<5J9D9FA=GG=6@9DIFDCG9HC8CGC 5B8F9DCFH=B;)@5=BH=::UG7F98=H=B589FC;5HCFM:5G<=CB 

      9:9B85BHGK=@@:I@@MJ=C@5H98H<9*:CF957<GI7<=BEI=FMH<5H9:9B85BHA589 

                     "B B9;5H=J9 F9DCFH=B;  )@5=BH=::UG 7F98=H =B:CFA5H=CB K=H< 57HI5@ CF 7CBGHFI7H=J9

      ?BCK@98;9H<5H=H8=8BCH<5J9D9FA=GG=6@9DIFDCG9HC8CGC 9:9B85BHB9;@=;9BH@MJ=C@5H98H<9*

     :CF957<GI7<=BEI=FMH<5HH<9MA589 

                    :H9F5F95GCB56@9H=A9HC7CB8I7H8=G7CJ9FM )@5=BH=::75BDFCJ9H<5H5@@57H=CBGH5?9B

     6M9AD@CM99G 5;9BHG CFF9DF9G9BH5H=J9GC:5BMHMD9:FCA9:9B85BHK9F9H5?9BK=H<=BH<9G7CD9C:





     GI7<=B8=J=8I5@GUCF9BH=H=9GU9AD@CMA9BH 5;9B7M CFF9DF9G9BH5H=CB 

                    )@5=BH=:: 5HH9ADH98 HC F9GC@J9 H<=G =GGI9 7CBG9BGI5@@M 5B8 5A=756@M 6M @9HH9F  6IH

     '9K*9N:5=@98HCF9GDCB8F9GDCBG=6@M 

                    "H<5G699BB979GG5FM:CF)@5=BH=::HCF9H5=BH<9IB89FG=;B987CIBG9@HCDFCG97IH9H<9

     =BGH5BH57H=CB :CFK<=7<H<9M5F9C6@=;5H98HCD5M5F95GCB56@95HHCFB9MUG:99 

                     @@7CB8=H=CBGDF97989BHHCH<=G57H=CB<5J9C77IFF98 

      
                                           '%!&! 
                            (!&! !&' $!"&&! )
                                 '%"$!!AA  &%#
                                      2-36:; 0>$0@-6/!%  
    
                       )@5=BH=:: <9F96M F9:9F HC 5B8 =B7CFDCF5H9 6M F9:9F9B79 957< 5B8 9J9FM 5@@9;5H=CB
    
           7CBH5=B98=BH<9DF9798=B;D5F5;F5D<GC:H<=GCAD@5=BH 
    
                       9:9B85BH'9K*9N<5G9B;5;98=B5D5HH9FB5B8DF57H=79C:57HGC:IB:5=F7CAD9H=H=CB
    
           =BJ=C@5H=CBC:H<95@=:CFB=5UG-% =B7@I8=B;H<9DF57H=79G5@@9;98<9F9=B 
    



                                                   (*" "'%(&)%"',
                                                                                                                    
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                     MJ=C@5H=B;H<9)@5=BH=::UG5B8CH<9F@5GG&9A69FGUF=;<HGHCBCH69H<F95H9B98K=H<

      7F98=HF9DCFH=B;5B8B9;5H=J9F9DCFH=B;=BH<9896H7C@@97H=CBF97=H9856CJ9 9:9B85BH'9K*9N<5G

      7CAA=HH985B87CBH=BI9GHC7CAA=H5B89B;5;9=BRIB@5K:I@ IB:5=FCF:F5I8I@9BH6IG=B9GG57HGCF

      DF57H=79GS5G89:=B98=BIG )FC: C89OO           !  

                     IG=B9GG  )FC:9GG=CBG C89 O          DFCJ=89G 5G IG98 =B H<=G 7<5DH9F  IB:5=F

      7CAD9H=H=CBG<5@@A95B5B8=B7@I895BMIB@5K:I@CF:F5I8I@9BH6IG=B9GG57HCFDF57H=795B8IB:5=F 

      8979DH=J9 IBHFI9CFA=G@958=B;58J9FH=G=B;5B85BM57HDFC<=6=H986M<5DH9F7CAA9B7=B;K=H<

      +97H=CB      C:)5FHC:=J=G=CBC:H<9IG=B9GG5B8)FC:9GG=CBGC89 

                     IG=B9GG  )FC:9GG=CBG C89 O  DFCJ=89G H<5H 5B 57H=CB :CF J=C@5H=CB C:

      5@=:CFB=5UGIB:5=F7CAD9H=H=CB@5KA5M696FCI;<H6MD9FGCBGK<C<5J9GI::9F98=B>IFM=B:57H5B8

     <5J9@CGHACB9MCFDFCD9FHM5G5F9GI@HC:GI7<IB:5=F7CAD9H=H=CB 5B8IG )FC: C89O 

     DFCJ=89GH<5H57CIFHA5M;F5BH=B>IB7H=J95B89EI=H56@9F9@=9:HCGI7<D9FGCBG 

                    ,<9 IB@5K:I@ 7CB8I7H C: 9:9B85BH '9K*9N  5@@9;98 <9F9=B  5F9 57HG C: IB:5=F





     7CAD9H=H=CBIB89FIG )FC: C89OO             !  :CFK<=7<9:9B85BH'9K*9N5B8H<9(

     D5FH=9G 5F9 @=56@9 5B8 :CF K<=7< H<=G CIFH G<CI@8 =GGI9 9EI=H56@9 5B8 =B>IB7H=J9 F9@=9:  =B7@I8=B;

     F9GH=HIH=CB DIFGI5BHHCIG )FC: C89O  

                    +D97=:=75@@M '9K*9N<5GB9;5H=J9@MF9DCFH987F98=H=BJ=C@5H=CBC:H<9*+7H5B8

     65G98CBH<9%C75@5B8'5H=CB5@A9F;9B7=9G 

                    ,<FCI;<H<9=F7CB8I7H 9:9B85BH'9K*9N<5G9B;5;98=BIB:5=F6IG=B9GGDF57H=79G=B

      5@=:CFB=56M9AD@CM=B;5B8IH=@=N=B;H<9DF57H=79G7CAD@5=B98C:<9F9=B 9:9B85BH'9K*9NUGIG9C:

     GI7<IB:5=F6IG=B9GGDF57H=79G7CBGH=HIH9IB:5=F7CAD9H=H=CBH<5H<5GDFCJ=8985B87CBH=BI9GHCDFCJ=89

     9:9B85BHGK=H<5BIB:5=F58J5BH5;9CJ9FH<9=F7CAD9H=HCFG 

                    (:BCH9 A5BM@9B89FG5B8G9FJ=79FG5F97CAD@M=B;K=H<H<9*+7H 5B8H<9*

     A9B8A9BHG 

                     9:9B85BH'9K*9NUG7CB8I7H5G5@@9;98<9F9=B=GIB@5K:I@ IB:5=F 5B8:F5I8I@9BH 

                    9:9B85BH '9K*9NUG 7CB8I7H 5G 5@@9;98 <9F9=B =G RIB@5K:I@S =B H<5H  5ACB; CH<9F

     H<=B;G =HJ=C@5H9GH<98IH=9G=HCK9GHC)@5=BH=::5B8H<9@5GG&9A69FG 



                                                    (*" "'%(&)%"',
                                                                                                                      
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                     9:9B85BH'9K*9NUG7CB8I7H5G5@@9;98<9F9=B=G5@GCRIB:5=FS6975IG9 5ACB;CH<9F

      H<=B;G =HK5G89G=;B98HC89DF=J9)@5=BH=::5B8H<9@5GG&9A69FGC:H<9=F7CBGH=HIH=CB5@@MDFCH97H98

      F=;<HG5B8H<9=FDFCD9FHM:CF@9GGH<5B589EI5H97CBG=89F5H=CB 

                     9:9B85BH '9K*9NUG G7<9A9  5G 5@@9;98 <9F9=B  =G 5@GC R:F5I8I@9BH S =B H<5H =H =G

      ?BCK=B;@M75@7I@5H985B8@=?9@MHCA=G@958 9:9B85BH'9K*9N<5857HI5@?BCK@98;9H<9=@@=7=H5B8

      F97?@9GG D@5BG H<9M DCGG9GG98 5B8 7CB795@98 :FCA )@5=BH=:: 5B8 H<9 @5GG &9A69FG HC C6H5=B 5B8

      H<F95H9BH<9AK=H<7F98=HF9DCFH=B; 5B857HI5@@MB9;5H=J9F9DCFH=B;7F98=HK=H<CIH5IH<CF=N5H=CBHC8C

      GC 9:9B85BH'9K*9N<5G7CBH=BI98HCH5?9GH9DGHCD9FD9HI5H9H<9G98979=H:I@DF57H=79G5;5=BGHH<9

      )@5=BH=::5B8H<9@5GG&9A69FG5B8CH<9FA9A69FGC:H<9DI6@=75H@5F;9 

                     -B@9GG9B>C=B98 9:9B85BH'9K*9NK=@@7CBH=BI9HC<5FAH<9)@5=BH=:: H<9CH<9F@5GG

     &9A69FG5B8H<9;9B9F5@DI6@=7 )@5=BH=::5B8H<9@5GG&9A69FG<5J9GI::9F98=B>IF=9G=B:57H5B8

     @CGHACB9M5G5F9GI@HC:9:9B85BHGU7CB8I7H 5GACF9GD97=:=75@@M5@@9;9856CJ9 

                    G 5 F9GI@H C: 9:9B85BH '9K*9NUG IB:5=F 6IG=B9GG DF57H=79G  =H <5G F95D98 IB:5=F





     69B9:=HG5B8=@@9;5@DFC:=HG5HH<99LD9BG9C:H<9)@5=BH=::5B8H<9@5GG&9A69FG 9:9B85BH'9K*9N

     G<CI@8 69 A589 HC 8=G;CF;9 =HG =@@ ;CHH9B ;5=BG 5B8 F9GHCF9 GI7< ACB=9G HC )@5=BH=:: 5B8 H<9 @5GG

     &9A69FG 9:9B85BH'9K*9NUGIB:5=F6IG=B9GGDF57H=79G:IFH<9FACF99BH=H@9)@5=BH=::5B8H<9@5GG

     &9A69FG<9F9=BHCC6H5=BDF9@=A=B5FM5B8D9FA5B9BH=B>IB7H=J9F9@=9: =B7@I8=B; 6IHBCH@=A=H98HC 

     CF89FGH<5H9:9B85BH'9K*9N795G9=HG7CAD@5=B98 C:DF57H=79G5B8577CIBH:CF 8=G;CF;9 5B8F9GHCF9

     HC)@5=BH=::5B8H<9@5GG&9A69FGH<97CAD9BG5H=CBIB@5K:I@@MC6H5=B98:FCAH<9A 5GK9@@5GHC

      7CFF97HH<97F98=HG7CF9C:5@@H<CG9IB89FH<9*+7HH<5H<5J9699B=AD57H98 

                                                '%!&! (

                                  (!&! !&"                 '%A  
                                          ;5=BGH'9K*9N5B8(+             
                    )@5=BH=::F95@@9;9G5@@5@@9;5H=CBG5G=::I@@MG9H:CFH<<9F9=B 5B8=B7CFDCF5H9DF9J=CIG
     5@@9;5H=CBG6MF9:9F9B79 

                    ,<9GH5H97CIFH<5G>IF=G8=7H=CBIB89FH<9) 
    



                                                    (*" "'%(&)%"',
                                                                                                                       
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                     ,<9 ) 7F95H9G 5 6FC58  :@9L=6@9 DFC<=6=H=CB 5;5=BGH H<9 IG9 C: A=G@958=B; 

      8979DH=J9 CF:5@G9F9DF9G9BH5H=CBG=BH<97C@@97H=CBC:896HG +99- +  O9 !#

      ! !  "       8    H< =F          7=H=B; @9;=G@5H=J9 <=GHCFM

      F9:9F9B79HCH<9)UG;9B9F5@DFC<=6=H=CBGK<=7<RK=@@9B56@9H<97CIFHG K<9F95DDFCDF=5H9 HC

      DFCG7F=69CH<9F=ADFCD9F7CB8I7HK<=7<=GBCHGD97=:=75@@M588F9GG98S 

                     ,<9 96H 7C@@97H=CB 5H =GGI9 <9F9 69HK99B )@5=BH=:: 5B8 H<9 @5GG =G A=G@958=B; 5B8

      8979DH=J96975IG99:9B85BHG<5J9G5=8H<9M<5J9H<9F=;<HHCD@579589FC;5HCFMF9DCFHCB7F98=H 

      K<9B GI7< 7C@@97H=CB A97<5B=GA =G BCH D9FA=HH98 65G98 CB H<9 *+ 7H  5B8 H<9F9 =G BC

      5IH<CF=N5H=CB:CFGI7<7C@@97H=CBIB89FH<95F9G7H 

                      ,<9)DFC<=6=HG896H7C@@97HCFG:FCAIG=B;5BMRIB:5=FCFIB7CBG7=CB56@9A95BG

     HC 7C@@97H CF 5HH9ADH HC 7C@@97H 5BM 896H S  - +   O :  "H 5@GC DFC<=6=HG IG=B; R5BM :5@G9 

     8979DH=J9 CFA=G@958=B;F9DF9G9BH5H=CBSHC7C@@97H5896H =B7@I8=B;5BMR:5@G9F9DF9G9BH5H=CBC:H<9

     7<5F57H9F 5ACIBH CF@9;5@GH5HIGC:5BM896HS5B85BMRH<F95HHCH5?95BM57H=CBH<5H75BBCH@9;5@@M





     69H5?9B S"8 O9   %5KGI=HGHC7C@@97HK<=7<=B7@I89GH<F95HHCF9DCFH7F98=H K<=7<

     K5GH<975G9<9F9CB896HGH<5H75BBCH697C@@97H985B8F9DCFH98IB89FH<9*+7H=G6CH<IB:5=F

     5B8A=G@958=B; J=C@5H=B;O:5B8O9F9GD97H=J9@M 5B8H<F95HGHCGI9CFF9DCFH7F98=HCB896HG

     H<5H75BBCH69F9DCFH98 5F9=B89D9B89BH@M A=G@958=B; J=C@5H=B;O9 

                                                 '%!&! (

            (!&! !&$!% &$&!&! "$&%&

                                           ;5=BGH'9K*9N 5B8(+             

                    )@5=BH=::5B8H<9@5GG&9A69FG<9F96MF9:9FHC5B8=B7CFDCF5H96MF9:9F9B79957<5B8

     9J9FM5@@9;5H=CB7CBH5=B98=BH<9DF9798=B;D5F5;F5D<G 

                    9:9B85BH=G5R896H7C@@97HCFSK=H<=BH<9A95B=B;C:5@=:CFB=5=J=@C89O  

     *5B5UGACFH;5;9896H7CBGH=HIH9G5R7CBGIA9F896HSDIFGI5BHHCG5=8G97H=CB 

                    9:9B85BH<5GJ=C@5H98 5B85F9J=C@5H=B; H<9*CG9BH<5@5=F96HC@@97H=CB)F57H=79G

     7H 5@=:CFB=5=J=@C89O !  =BH<5H9:9B85BH=G5HH9ADH=B;HC7C@@97H5896H65G98CB

     B9;5H=J97F98=HF9DCFH=B;C:K<=7<=H=GBCH9BH=H@98HCB9;5H=J9@MF9DCFH 



                                                     (*" "'%(&)%"',
                                                                                                                         
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                     5@=:CFB=5 =J=@ C89 O  F9EI=F9G 9J9FM 896H 7C@@97HCF HC 7CAD@M K=H< H<9

      DFCJ=G=CBGC:OO6HC> =B7@IG=J9 5B8H<5HH<9G5A9G<5@@69GI6>97HHCH<9F9A98=9G=BO? 

      C:,=H@9C:H<9-B=H98+H5H9GC89 ,CK=H

                5 +97H=CB 8 DFC<=6=HG 5 896H 7C@@97HCF :FCA 9B;5;=B; =B 5BM 7CB8I7H H<9 B5HIF5@

      7CBG9EI9B79GC:K<=7<=GHC<5F5GG CDDF9GGCF56IG95BMD9FGCB=B7CBB97H=CBK=H<H<97C@@97H=CBC:

      5896H 

                6 +97H=CB 9 DFC<=6=HG 5 896H 7C@@97HCF :FCA 7CAAIB=75H=B; CF H<F95H9B=B; HC

      7CAAIB=75H9HC5BMD9FGCB7F98=H=B:CFA5H=CBK<=7<=G?BCKB CFK<=7<G<CI@869?BCKBHC69:5@G9 
        =B7@I8=B;H<9:5=@IF9HC7CAAIB=75H9H<5H58=GDIH98896H=G8=GDIH98 
     
                 7 +97H=CB 9  DFC<=6=HG 5 896H 7C@@97HCF :FCA H<9 IG9 C: 5BM :5@G9 F9DF9G9BH5H=CB CF
     
        8979DH=J9 A95BG HC 7C@@97H CF 5HH9ADH HC 7C@@97H 5BM 896H CF HC C6H5=B =B:CFA5H=CB 7CB79FB=B; 5
    
        7CBGIA9F 
    
                 8+97H=CB9DFC<=6=HG5896H7C@@97HCF:FCA:5=@=B;HC8=G7@CG95=BH<9=B=H=5@KF=HH9B
    
        7CAAIB=75H=CBK=H<H<97CBGIA9F5B8 =B588=H=CB =:H<9=B=H=5@7CAAIB=75H=CBK=H<H<97CBGIA9F=G





    
        CF5@ =BH<5H=B=H=5@CF5@7CAAIB=75H=CB H<5HH<9896H7C@@97HCF=G5HH9ADH=B;HC7C@@97H5896H5B8H<5H
    
        5BM=B:CFA5H=CBC6H5=B98K=@@69IG98:CFH<5HDIFDCG9 5B86=BGI6G9EI9BH7CAAIB=75H=CBGH<5HH<9
    
        7CAAIB=75H=CB=G:FCA5896H7C@@97HCF 
              9 +97H=CB ; F9EI=F9G 588=H=CB5@ KF=HH9B BCH=79G 69 DFCJ=898 6M 896H 7C@@97HCFG 5B8
     DFCJ=89G7=F7IAGH5B79GIB89FK<=7<5896H7C@@97HCFAIGH795G97C@@97H=CBC:896HGK<9B8=GDIH98 

                    9:9B85BHG <5J9 J=C@5H98  5B8 7CBH=BI9 HC J=C@5H9  H<9 :CF9;C=B; DFCJ=G=CBG C: H<9
      *CG9BH<5@5=F96HC@@97H=CB)F57H=79G7H6MIG=B;:5@G9F9DF9G9BH5H=CBG5B88979DH=J9A95BGHC

     7C@@97H5896HPH<5H=G H<F95H9B=B;HC7C@@97HCB5896HH<5H=GH<F95H9B=B;HC:CF97@CG9CBIB89F@M=B;

     F95@DFCD9FHM F9DCFH=B;7F98=HB9;5H=J9@M 5B8H<9:57HH<5HBCGI7<F9DCFH=B;=G5IH<CF=N98IB89F5BM

     :989F5@GH5HIH9CFGH5H9GH5HIH9 G57CBG9EI9B79 H<9)@5=BH=::5B8@5GG&9A69FG<9F9=B5F99BH=H@98

     HC5DDFCDF=5H99EI=H56@9F9@=9: =B7@I8=B;5BCF89F9B>C=B=B;9:9B85BHG:FCAH<9IB@5K:I@DF57H=79G

     89G7F=698<9F9=B 5GK9@@5GF97CJ9FMC:5HHCFB9MGU:99G5B87CGHGC:@=H=;5H=CB=B7@I8=B;6IHBCH@=A=H98

     HC DIFGI5BH HC 5@=:CFB=5 =J=@ C89 OO  5B8   7  F9GH=HIH=CB C: DFCD9FHM  57HI5@

    



                                                     (*" "'%(&)%"',
                                                                                                                        
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      85A5;9G  GH5HIHCFM 85A5;9G ID HC            D9F J=C@5H=CB  DIB=H=J9 85A5;9G 5G A5M CH<9FK=G9 69

      D9FA=HH986M@5K5B85BMCH<9FF9@=9:H<97CIFH899AGDFCD9F )@5=BH=::=B7IFF9857HI5@85A5;9G=B

      H<5H<9F7F98=HG7CF98FCDD98G=;B=:=75BH@M5G5F9GI@HC:9:9B85BHUG7CB8I7H 

                                                 '%!&! (

                                       ! %'$$%&

                                           (!A  &%#

                                           ;5=BGH'9K*9N5B8(+             
                     )@5=BH=::G99?G5BCF89F9B>C=B=B;9:9B85BHGUIB:5=F5B88979DH=J957HG5B8DF57H=79G 
      F9GH=HIH=CB 7CGHGC:7CIFH 5B85HHCFB9M:99GDIFGI5BHHC5@ =J C89O 9 5B85BMCH<9F>IGH

      5B8DFCD9FF9@=9:5J5=@56@9IB89FH<95@=:CFB=5CBGIA9F%9;5@*9A98=9G7HR%*S 

                    )@5=BH=::=G57CBGIA9F5GH<5HH9FA=G89:=B98IB89FH<9%*5B8H<9F95@DFCD9FHM =G
     5F9G=89BH=5@F95@DFCD9FHM 

                    9:9B85BHDFCJ=89G5RG9FJ=79S5GH<5HH9FA=G89:=B98IB89FH<9%*5G=HG9FJ=79G5





     896H 6IH8C9GGCCIHG=89C:H<9CF8=B5FM7CIFG9C:HMD=75@G9FJ=7=B;6IG=B9GG=BH<5H=H=GF9DCFH=B;

     89FC;5HCFMF9A5F?GH<5HBCB9C:=HG7CAD5F5HCFG5F9F9DCFH=B; 

                    )IFGI5BHHC5@=:CFB=5=J=@C89O )@5=BH=::G9BH(%5%*89A5B8@9HH9F
     J=579FH=:=98A5=@ ":9:9B85BHG:5=@HCDFCJ=89H<9F9@=9:89A5B898K=H<=BH<9H=A95@@CK986M@5K 

     )@5=BH=::K=@@5A9B8<=GCAD@5=BHHCG99?57HI5@5B8DIB=H=J985A5;9G:CFJ=C@5H=CBC:H<9%* 

                     )@5=BH=::G99?G5BCF89F9B>C=B=B;9:9B85BHGUIB:5=F5B88979DH=J957HG5B8DF57H=79G 
      F9GH=HIH=CB 7CGHGC:7CIFH 5B85HHCFB9M:99GDIFGI5BHHC5@ =J C89O 9 5B85BMCH<9F>IGH

     5B8DFCD9FF9@=9:5J5=@56@9IB89FH<9%* 

                    ,<9%*5DD@=9GHC896H7C@@97H=CB7@5=AG   $# ! ! ! 'C 
      7J    +   - + =GH %0"+  5@ #5B     

                    ,<9 96H 7C@@97H=CB 5H =GGI9 <9F9 69HK99B )@5=BH=:: 5B8 H<9 @5GG =G A=G@958=B; 5B8
     8979DH=J9IB89FH<9%*6975IG99:9B85BHG<5J9?BCK=B;@M5B8=BH9BH=CB5@@M7C@@97H98CB5896H

     H<5H H<9 *+ 7H G5=8 A5M BCH 69 7C@@97H98 5H H<=G H=A9  5B8 H<F95H9B98 HC 7C@@97H 6M F9DCFH=B;

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                                                    (*" "'%(&)%"',
                                                                                                                       
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      89FC;5HCFM7F98=HCB896H8IF=B;H<9*+7H 5B8H<9F9=GBC5IH<CF=N5H=CB:CFGI7<7C@@97H=CB

      IB89FH<9) *CG9BH<5@ CF%* 

                    ,<9IB@5K:I@DF57H=79G5F9B9;5H=J9@MF9DCFH=B;7F98=H=BJ=C@5H=CBC:H<9*+7H

      5B865G98CBH<9%C75@5B8'5H=CB5@A9F;9B7=9G 

      
                                      '%!&! (
             (!&! !!$ ! %'$$&$"!$&  %&
                                                
                                  ;5=BGH'9K*9N 5B8(+  
      

                    )@5=BH=::5B8H<9@5GG&9A69FG<9F96MF9:9FHC5B8=B7CFDCF5H96MF9:9F9B79957<5B8

      9J9FM5@@9;5H=CB7CBH5=B98=BH<9DF9798=B;D5F5;F5D<G 

                   9:9B85BH?BCK=B;@M5B8K=@@:I@@MJ=C@5H98* 9:9B85BHGJ=C@5H=CBG=B7@I89 

     6IH5F9BCH@=A=H98HCH<9:C@@CK=B;57HD9F:CFA98

                      5      +I6A=HH=B; B9;5H=J9 7F98=H =B:CFA5H=CB  5G H<5H 89G7F=698 =B 5@=:CFB=5 =J=@
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     C89O 5 HC)@5=BH=::G7F98=HF9DCFHK=H<H<9*G K=H<CIHBCH=:M=B;H<9)@5=BH=:: D9F

     5@=:CFB=5=J=@C89O 6

                      6      5=@=B;HC7CB8I7HDFCD9F=BJ9GH=;5H=CB5B8F9J=9KC:5@@F9@9J5BH=B:CFA5H=CB

     K=H<F9GD97HHC)@5=BH=::G8=GDIH9G D9F5@=:CFB=5=J=@C89O :

                      7      CBH=BI=B; HC F9DCFH H<9 8=GDIH98 =B:CFA5H=CB HC H<9 *G  IDCB F979=DH C:

     )@5=BH=::G8=GDIH9G5B88IF=B;H<9=BJ9GH=;5H=CBGD9F=C8 K=H<CIHBCH=79GH<5HH<9577CIBHG<5J9699B

      8=GDIH986M)@5=BH=:: D9F5@=:CFB=5=J=@C89O 7

                   )@5=BH=:: 7CBH9B8G H<5H H<9 9:9B85BHG 57H=CBG 7CBGH=HIH98 K=@@:I@ J=C@5H=CBG C: H<9

     CBGIA9FF98=H*9DCFH=B;;9B7=9G7H 

                   ,<9IB@5K:I@DF57H=79G5F9B9;5H=J9@MF9DCFH=B;7F98=H=BJ=C@5H=CBC:H<9*+7H

     5B865G98CBH<9%C75@5B8'5H=CB5@A9F;9B7=9G 

                                              "$*$!$$

               /!*(* )@5=BH=:: 5B8957<@5GG&9A69FG DF5M:CF>I8;A9BH5;5=BGH9:9B85BHG5G

     :C@@CKG



                                                  (*" "'%(&)%"',
                                                                                                                      
          Case 8:21-cv-01705 Document 1-1 Filed 10/13/21 Page 22 of 33 Page ID #:25

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                     ,<5HH<=G57H=CB5B8H<9DFCDCG987@5GG6979FH=:=985B8A5=BH5=B985G57@5GG57H=CB 

      5DDC=BH=B; )@5=BH=:: 5G F9DF9G9BH5H=J9G C: H<9 @5GG  5B8 5DDC=BH=B; H<9 5HHCFB9MG 5B8 @5K :=FAG

      F9DF9G9BH=B;)@5=BH=::5G7CIBG9@:CFH<9@5GG

                     CF57HI5@85A5;9G F9GH=HIH=CB 5B85@@CH<9F5DDFCDF=5H9@9;5@5B89EI=H56@9F9@=9:

                     CF897@5F5HCFMF9@=9:

                     CFDF9 >I8;A9BH5B8DCGH >I8;A9BH=BH9F9GH

                     CF5HHCFB9MGU:99G5B87CGHGDIFGI5BH ! =J=@C89OO 5B8  7 

      * *CG9BH<5@ ) 5B8H<9)

                     CF5DDFCDF=5H9=B>IB7H=J9F9@=9:

                      CF GH5HIHCFM 85A5;9G =B H<9 5ACIBH C: BC @9GG H<5B       D9F J=C@5H=CB IB89F

     *CG9BH<5@
                !       CFGH5HIHCFM85A5;9G=BH<95ACIBHC:BC@9GGH<5B     D9FJ=C@5H=CB IB89FH<9
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        )
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                "       75H5@MGH7@5=A:CF5HHCFB9MGU:99G65G98CBH<99:9B85BHG<5J=B;7<5B;98H<9=F
    
        DC@=7=9G5:H9FH<9:=@=B;C:H<=G57H=CB
    
                #       CFGH5HIHCFM85A5;9GIB89FH<9*C:BC@9GGH<5B        D9FJ=C@5H=CB
    
                $       CFDIB=H=J985A5;9G
    
                %       CFGI7<CH<9F5B8:IFH<9FF9@=9:5GH<=GCIFHA5M899A>IGH5B8DFCD9F 
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           ,+9DH9A69F              *9GD97H:I@@MGI6A=HH98 
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                                                 G                      
                                           @5?9# %=B89A5BB
                                                  5@=:CFB=55F'C 
     
                                                   A5=@6@5?9@5K6@ 7CA
                                                CBB5* =G<65?
                                                  5@=:CFB=55F'C 
                                                 A5=@8CBB5@5K6@ 7CA
                                                    )$"
                                                ' 5A89BF=J9 H<@CCF
                                                  9J9F@M!=@@G   
     
                                                  ,9@9D<CB9'C  
                                                57G=A=@9'C         
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          Case 8:21-cv-01705 Document 1-1 Filed 10/13/21 Page 24 of 33 Page ID #:27

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 30-2021-01220235-CU-BT-CXC          Document     1-1H. YAMASAKI,
                                        # 7 - DAVID      Filed 10/13/21
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                                                                              the Court By33
                                                                                           OlgaPage
                                                                                               Lopez,ID #:28 Clerk.
                                                                                                      Deputy
                                                                                                              SUM-100
                                           SUMMONS                                                                        FOR COURT USE ONLY
                                                                                                                      (SOLO PARA USO DE LA CORTE)
                                    (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
NEWREZ, LLC dba SHELLPOINT MORTGAGE SERVICING,
and DOES 1-100,
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
KARTAR RANA, on behalf of herself and all others
similarly situated,
 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
 continuación.
    Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte
 que le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podrá quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
 colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is:               Civil Complex Center                                 CASE NUMBER:
                                                                                                         (Número del Caso):
(El nombre y dirección de la corte es):
                                                    751 W. Santa Ana Blvd.                                  30-2021-01220235-CU-BT-CXC
                                                    Santa Ana, CA 92701
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
                        el número de teléfono del abo ado del demandante, o del demandante que no tiene abogado, es):
Blake J. Lindemann; LINDEMANN LAW FIRM; 433 N. Camden Drive, 4th Floor, Beverly Hills, CA 90210;
Telephone: (310) 279-5269; Facsimile: (310) 300-0267; E-mail: blake@lawbl.com
DATE: 9/14/2021                                                      Clerk, by                                                                        , Deputy
(Fecha)                                                              (Secretario)                                                                      (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                  1.      as an individual defendant.
                                  2.      as the person sued under the fictitious name of (specify):


                                      3.        on behalf of (specify):

                                           under:         CCP 416.10 (corporation)                                 CCP 416.60 (minor)
                                                          CCP 416.20 (defunct corporation)                         CCP 416.70 (conservatee)
                                                          CCP 416.40 (association or partnership)                  CCP 416.90 (authorized person)
                                                        other (specify):
                                      4.        by personal delivery on (date):
                                                                                                                                                         Page 1 of 1
 Form Adopted for Mandatory Use                                                                                                Code of Civil Procedure §§ 412.20, 465
   Judicial Council of California
                                                                      SUMMONS                                                                    www.courtinfo.ca.gov
   SUM-100 [Rev. July 1, 2009]
             Electronically Filed by Superior Court of California, County of Orange, 09/08/2021 11:49:04 AM.
            Case  8:21-cv-01705
30-2021-01220235-CU-BT-CXC      - ROA #Document
                                        3 - DAVID H.1-1    Filed 10/13/21
                                                      YAMASAKI,     Clerk of thePage
                                                                                 Court 26 of 33 Page
                                                                                       By Georgina      ID #:29
                                                                                                   Ramirez, Deputy CM-010
                                                                                                                   Clerk.
    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                         FOR COURT USE ONLY
        LINDEMANN LAW FIRM, APC
        Blake J. Lindemann, SBN 255747
        433 N. Camden Drive, 4th Floor, Beverly Hills, CA 90210
          TELEPHONE NO.: (310) 279-5269          FAX NO.: (310) 300-0267
     ATTORNEY FOR (Name): Plaintiff, Kartar Rana
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF                   ORANGE
           STREET ADDRESS:
                               ;;;;;;;;;;;;;; . Dr.
                               700 W Civic Center
                                                                :6$17$$1$%/9'
          MAILING ADDRESS:
                               Same as above.
          CITY AND ZIP CODE:   Santa Ana, CA 92701
              BRANCH NAME:     Central Justice Center
        CASE NAME:
                          Kartar Rana, et al. v. NewRez, LLC, et al.
                                                                                                                    CASE NUMBER:
          CIVIL CASE COVER SHEET                                      Complex Case Designation
            Unlimited         Limited
            (Amount           (Amount                     Counter              Joinder
                                                                                            JUDGE:
            demanded          demanded is          Filed with first appearance by defendant
            exceeds $25,000)  $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT:

                                 Items 1–6 below must be completed (see instructions on page 2).                                          &;
   1. Check one box below for the case type that best describes this case:
         Auto Tort                                              Contract                                     Provisionally Complex Civil Litigation
                Auto (22)                                             Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400–3.403)
                Uninsured motorist (46)                               Rule 3.740 collections (09)                  Antitrust/Trade regulation (03)
         Other PI/PD/WD (Personal Injury/Property                     Other collections (09)                       Construction defect (10)
         Damage/Wrongful Death) Tort                                  Insurance coverage (18)                      Mass tort (40)
               Asbestos (04)                                          Other contract (37)                           Securities litigation (28)
                Product liability (24)                          Real Property                                       Environmental/Toxic tort (30)
                Medical malpractice (45)                              Eminent domain/Inverse                        Insurance coverage claims arising from the
              Other PI/PD/WD (23)                                     condemnation (14)                             above listed provisionally complex case
                                                                      Wrongful eviction (33)                        types (41)
         Non-PI/PD/WD (Other) Tort
          x     Business tort/unfair business practice (07)      Other real property (26)                    Enforcement of Judgment
                Civil rights (08)                           Unlawful Detainer                                      Enforcement of judgment (20)
                Defamation (13)                                  Commercial (31)                             Miscellaneous Civil Complaint
                Fraud (16)                                            Residential (32)                             RICO (27)
                Intellectual property (19)                            Drugs (38)                                   Other complaint (not specified above) (42)
                Professional negligence (25)                   Judicial Review                               Miscellaneous Civil Petition
              Other non-PI/PD/WD tort (35)                           Asset forfeiture (05)
                                                                                                                   Partnership and corporate governance (21)
         Employment                                                   Petition re: arbitration award (11)
                                                                                                                   Other petition (not specified above) (43)
              Wrongful termination (36)                               Writ of mandate (02)
                Other employment (15)                                 Other judicial review (39)
   2. This case     x is             is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
      factors requiring exceptional judicial management:
      a.       Large number of separately represented parties        d.      Large number of witnesses
      b. x Extensive motion practice raising difficult or novel      e.      Coordination with related actions pending in one or more courts
               issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
      c. x Substantial amount of documentary evidence                f.      Substantial postjudgment judicial supervision
   3.    Remedies sought (check all that apply): a.       monetary b.          nonmonetary; declaratory or injunctive relief                              c.         punitive
   4.    Number of causes of action (specify): 7
   5.    This case      x is          is not a class action suit.
   6.    If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
   Date: 9/8/2021
                               Blake J. Lindemann
                                      (TYPE OR PRINT NAME)                                                  (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                NOTICE
     • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
         under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
         in sanctions.
     •   File this cover sheet in addition to any cover sheet required by local court rule.
     •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
         other parties to the action or proceeding.
     •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                       Page 1 of 2
                                                                                                                        Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
   Form Adopted for Mandatory Use
     Judicial Council of California
                                                                CIVIL CASE COVER SHEET                                          Cal. Standards of Judicial Administration, std. 3.10
      CM-010 [Rev. July 1, 2007]                                                                                                                              www.courtinfo.ca.gov
                 Case 8:21-cv-01705 Document 1-1 Filed 10/13/21 Page 27 of 33 Page ID #:30
                                                                                                                                      CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                          CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property             Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                         Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach–Seller                Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                             Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                  case type listed above) (41)
Tort                                                Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case–Seller Plaintiff                   Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                        County)
          Asbestos Personal Injury/
                Wrongful Death                               Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                      complex) (18)                                      Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                   Administrative Agency Award
          Medical Malpractice–                           Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                      Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                             Other Enforcement of Judgment
                                                Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip            Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                            above) (42)
                (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                         Declaratory Relief Only
                                                         Writ of Possession of Real Property                Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                        Quiet Title
                Emotional Distress                                                                          Mechanics Lien
                                                         Other Real Property (not eminent
          Other PI/PD/WD                                                                                    Other Commercial Complaint
                                                         domain, landlord/tenant, or
                                                                                                                  Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)
                                                                                                            Other Civil Complaint
     Business Tort/Unfair Business              Unlawful Detainer
                                                                                                                 (non-tort/non-complex)
         Practice (07)                              Commercial (31)
                                                                                                    Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                   Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)               above) (43)
           (13)                                 Judicial Review                                             Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (02)                                          Abuse
         Legal Malpractice                               Writ–Administrative Mandamus                       Election Contest
         Other Professional Malpractice                  Writ–Mandamus on Limited Court                     Petition for Name Change
              (not medical or legal)                         Case Matter                                    Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                       Writ–Other Limited Court Case                            Claim
Employment                                                   Review                                         Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                             Page 2 of 2
                                                    CIVIL CASE COVER SHEET
        Electronically Filed by Superior Court of California, County of Orange, 09/16/2021 02:22:00 PM.
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                   September 16, 2021
Raymond Y. Kim
                                     Case 8:21-cv-01705 Document 1-1 Filed 10/13/21 Page 29 of 33 Page ID #:32

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          Case 8:21-cv-01705 Document 1-1 Filed 10/13/21 Page 32 of 33 Page ID #:35
                              SUPERIOR COURT OF CALIFORNIA,
                                   COUNTY OF ORANGE
                                 CIVIL COMPLEX CENTER
                                            MINUTE ORDER
DATE: 09/28/2021                    TIME: 10:09:00 AM                  DEPT: CX102
JUDICIAL OFFICER PRESIDING: Peter Wilson
CLERK: Virginia Harting
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT: None

CASE NO: 30-2021-01220235-CU-BT-CXC CASE INIT.DATE: 09/08/2021
CASE TITLE: Rana vs. Newrez, LLC
CASE CATEGORY: Civil - Unlimited CASE TYPE: Business Tort

EVENT ID/DOCUMENT ID: 73616396
EVENT TYPE: Chambers Work



APPEARANCES

There are no appearances by any party.

The Court finds that this case is exempt from the case disposition time goals imposed by California Rule
of Court, rule 3.714 due to exceptional circumstances and estimates that the maximum time required to
dispose of this case will exceed twenty-four months due to the following case evaluation factors of
California Rules of Court, rules 3.715 and 3.400: Case is Complex.

Each party who has not paid the Complex fee of $1,000.00 as required by Government Code § 70616
shall pay the fee to the Clerk of the Court within 10 court days from date of this minute order. Failure to
pay required fees may result in the dismissal of complaint/cross-complaint or the striking of responsive
pleadings and entry of default.

The Status Conference is scheduled for December 10, 2021 at 9:00 AM in Department CX102.

Plaintiff shall, at least 5 court days before the hearing, file with the Court and serve on all parties of
record or known to Plaintiff a brief, objective summary of the case, its procedural status, the contentions
of the parties and any special considerations of which the Court should be aware. Other parties who think
it necessary may also submit similar summaries 3 court days prior to the hearing. DO NOT use the CMC
(Case management Statement) form used for non-complex cases (Judicial Council Form CM-110).

All proposed orders (including those submitted pursuant to stipulation) must be submitted in 2 electronic
formats. One copy is to be filed in Word (without attachments), and another copy in .pdf format with all
attachments/exhibits attached to it. Failure to follow this rule may result in the proposed order not being
brought to the attention of the Court in a timely fashion. Ensure that the proposed order is identified as a
"Proposed Order.”

Additional departmental information may be obtained by visiting the Court’s website at:




DATE: 09/28/2021                                 MINUTE ORDER                                     Page 1
DEPT: CX102                                                                                   Calendar No.
        Case 8:21-cv-01705 Document 1-1 Filed 10/13/21 Page 33 of 33 Page ID #:36
CASE TITLE: Rana vs. Newrez, LLC                   CASE NO: 30-2021-01220235-CU-BT-CXC

COMPLEX CIVIL DEPARTMENT GUIDELINES –
http://www.occourts.org/directory/civil/complex-civil/department-guidelines.pdf

COMPLEX CIVIL COURTROOM SCHEDULE & REQUIREMENTS - ADDITIONAL GUIDELINES FOR
CX102 - http://www.occourts.org/directory/civil/complex-civil/calendar-schedule/civil-panel-schedule.html

CIVIL TENTATIVE RULINGS - http://www.occourts.org/directory/civil/tentative-rulings/

This case is subject to mandatory electronic filing pursuant to Superior Court Rules, County of Orange,
Rule 352. Plaintiff shall give notice of the Status Conference and the electronic filing requirement to all
parties of record or known to plaintiff, and shall attach a copy of this minute order.

Clerk to give notice to plaintiff and plaintiff to give notice to all other parties.




DATE: 09/28/2021                                      MINUTE ORDER                               Page 2
DEPT: CX102                                                                                  Calendar No.
